                        So Ordered.

Dated: December 2nd, 2021
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              6                          UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF WASHINGTON
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              8   In re                                                Chapter 11
              9   EASTERDAY RANCHES, INC., et al.                      Lead Case No. 21-00141-WLH11
                                                                       Jointly Administered
             10                                      Debtors.1
             11   EASTERDAY RANCHES, INC. and                          Adv. Pro. No. 21-80050 (WLH)
                  EASTERDAY FARMS,
             12
                                     Plaintiffs,
             13   v.                                                    SCHEDULING ORDER
             14   ESTATE OF GALE A. EASTERDAY
                  (DECEASED), KAREN L. EASTERDAY,
             15   CODY A. EASTERDAY, AND DEBBY
                  EASTERDAY
             16                      Defendants.
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             18            Upon consideration of each request of the above-captioned Plaintiffs and
             19   Defendants for the court to enter a scheduling order in the above-captioned adversary
             20   proceeding (Adv. Proc. No. 21-80050, the “Adversary Proceeding”) as set forth on the
             21   record of a December 2, 2021 hearing,
             22            IT IS HEREBY ORDERED THAT:
             23            1.    The following deadlines shall apply with respect to the Adversary
             24   Proceeding:
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             26        The Debtors along with their case numbers are as follows: Easterday Ranches, Inc. (21-
                       00141) and Easterday Farms, a Washington general partnership (21-00176).
             27       SCHEDULING ORDER – Page 1
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              1         a.   December 8, 2021: Plaintiffs’ deadline to file an amended complaint (the
              2              “Amended Complaint”) and/or answer to the counterclaims asserted by the
              3              Defendants [Adv. Proc. Docket Nos. 14 and 15].
              4         b.   December 22, 2021:        Defendants’ deadline to answer the Amended
              5              Complaint.
              6         c.   January 7, 2022: Close of written discovery. Written responses to
              7              Interrogatories, Requests for Admissions, and Requests for Production
              8              shall be due no later than 14 days from service thereof. All such documents
              9              and responses may be served by electronic mail.
             10         d.   January 12, 2022 at 11:00 a.m. (Pacific Time): Telephonic status
             11              conference.
             12         e.   February 4, 2022: Deadline to complete document production.
             13         f.   February 16, 2022 at 11:00 a.m. (Pacific Time): Telephonic status
             14              conference.
             15         g.   February 25, 2022: Close of fact depositions.
             16         h.   March 4, 2022: Deadline to identify testifying experts.
             17         i.   March 16, 2022 at 11:00 a.m. (Pacific Time): Telephonic status
             18              conference.
             19         j.   March 18, 2022: Reports of testifying experts must be served.
             20         k.   April 8, 2022: Close of expert depositions.
             21         l.   7 days before Final Hearing: Pre-trial briefing must be filed and served.
             22         m.   3 days before Final Hearing: Declarations with direct testimony of fact
             23              and expert witnesses must be filed and served.
             24         n.   April 15, 2022 at 11:00 a.m. (Pacific Time): Telephonic status conference.
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             27    SCHEDULING ORDER – Page 2
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              1         o.     April 18, 2022 at 9:30 a.m. (Pacific Time): In person trial begins and
              2                continues day to day or as otherwise scheduled by the court until complete
              3                (the “Final Hearing”).
              4         2.     The parties may modify the discovery deadlines set forth herein by the
              5   agreement of the Plaintiffs and Defendants without further court approval.
              6         3.     The court shall retain exclusive jurisdiction with respect to all matters
              7   arising from or related to the implementation of this order.
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              9                                   /// END OF ORDER ///
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             27    SCHEDULING ORDER – Page 3
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              1   Presented by:
              2   /s/ Thomas A. Buford, III
                  THOMAS A. BUFORD, III (WSBA 52969)
              3
                  BUSH KORNFELD LLP
              4
                  RICHARD M. PACHULSKI (admitted pro hac vice)
              5   JEFFREY W. DULBERG (admitted pro hac vice)
                  MAXIM B. LITVAK (admitted pro hac vice)
              6   PACHULSKI STANG ZIEHL & JONES LLP
              7   Attorneys for Plaintiffs
              8   * changes made by court
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             27    SCHEDULING ORDER – Page 4
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